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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

NOACH NEWMAN, et al.,
                                 Plaintiffs,
                    - v. -
                                                    Civil Action Case No.
BAM TRADING SERVICES INC. d/b/a                     24 Civ. 00134
BINANCE.US, a Delaware corporation, and
BINANCE HOLDINGS LTD. d/b/a
BINANCE, a foreign company, and
CHANGPENG ZHAO,                                     ORAL ARGUMENT
                                                    REQUESTED
                                  Defendants.


         BINANCE HOLDINGS LIMITED’S MOTION TO DISMISS
                   THE AMENDED COMPLAINT
      Defendant Binance Holdings Limited (“BHL”), by and through its

undersigned attorneys, respectfully moves this Court for an Order dismissing the

above-captioned action in its entirety pursuant to Federal Rules of Civil Procedure

8, 10(b), 12(b)(1), 12(b)(2), and 12(b)(6).

      BHL seeks an Order of dismissal because: (i) several Plaintiffs lack standing

to assert claims under 18 U.S.C. § 2333(a) (the “ATA”), 18 U.S.C. § 2333(d)

(“JASTA”), and 28 U.S.C. § 1350 (the “ATS”); (ii) the Amended Complaint fails to

comply with the requirements of Federal Rules of Civil Procedure 8 and 10(b); (iii)

the Amended Complaint fails to establish personal jurisdiction over BHL; (iv) the

Amended Complaint does not adequately allege primary liability claims under the
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ATA; (v) the Amended Complaint does not adequately allege aiding-and-abetting

liability under the ATA/JASTA; (vi) the Amended Complaint does not adequately

allege conspiracy liability under the ATA/JASTA; (vii) the Amended Complaint’s

ATS claim fails for lack of jurisdiction and on the merits; and (viii) the Amended

Complaint’s negligence/wantonness claim fails to allege that BHL breached a duty

to any of the Plaintiffs, nor that any of the Plaintiffs’ injuries were proximately

caused by such a breach.      BHL sets forth its arguments for dismissal in an

accompanying Memorandum of Law, the Declaration of Samson A. Enzer, and the

exhibits attached thereto.

      WHEREFORE, BHL respectfully requests that this Court: (i) issue an order

dismissing the above-captioned action in its entirety, and (ii) grant BHL’s request

for oral argument at a date and time to be designated by the Court.




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Date: June 20, 2025

                                       Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing has been filed with the

Court and served by the Court’s ECF system, on this the 20th day of June, 2025, on:

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